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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) CRIMINAL NO. 4:23-CR-00159-2
)
)  (BRANN, C.J.)
V. )
) (ARBUCKLE, M.J.) FILED
KATRINA MACLEAN, ) WILLIAMSPORT
Defendant ) JUN 27. 2023
PLEA per At
DEPUTY CLERK

 

AND NOW, this 27" day of June 2023, the within named Defendant, hereby

 

enters a plea of Arcot bv Ty to the within Indictment.

 

 

(Defeyise Counsel)

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